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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re                                                       Chapter 11

    CR Holding Liquidating, Inc., et al.,1                      Case No.: 19-10210 (LSS)
                                                                (Jointly Administered)

                                                                Related Docket Nos.: 1778, 1801
                                         Debtors.


                     CERTIFICATION OF COUNSEL REGARDING ORDER
                            DISMISSING THE DEBTORS’ CASES

            I, Evan T. Miller, co-counsel for the above-captioned debtors and debtors in possession

(collectively, the “Debtors”), hereby certify (the “Certification”) and state as follows:

            1.     On March 30, 2023, the Debtors filed the Motion of the Debtors for Entry of Orders

(I) Establishing Dismissal Procedures, (II) Authorizing Dismissal of the Debtors’ Chapter 11

Cases, (III) Authorizing Sale of Remnant Assets, (IV) Permitting Offset of Further Fees Under 28

U.S.C. § 1930(a)(6) Against Overpayments and (V) Granting Related Relief [D.I. 1778] (the

“Motion”).

            2.     On April 19, 2023, the Court entered the Order Establishing Procedures for

Dismissal of the Debtors’ Chapter 11 Cases and Granting Related Relief [D.I. 1801] (the

“Dismissal Procedures Order”) approving the form of dismissal order attached to the Motion as

Exhibit B (the “Dismissal Order”) and establishing procedures for the dismissal of these chapter

11 cases without the need for further notice or hearing.


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  The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: CR
Holding Liquidating Inc. (f/k/a Charlotte Russe Holding Inc.) (4325); CR Holdings Liquidating Corporation (f/k/a
Charlotte Russe Holdings Corporation) (1045); CR Intermediate Liquidating Corporation (f/k/a Charlotte Russe
Intermediate Corporation) (6345); CR Enterprise Liquidating, Inc. (f/k/a Charlotte Russe Enterprise, Inc.) (2527); CR
Liquidating, Inc. (f/k/a Charlotte Russe, Inc.) (0505); CR Merchandising Liquidating, Inc. (f/k/a Charlotte Russe
Merchandising, Inc.) (9453); and CR Administration Liquidating, Inc. (f/k/a Charlotte Russe Administration, Inc.)
(9456). The Debtors’ mailing address is 3111 Camino Del Rio N. Suite 400, San Diego, CA 92108.
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       3.      Pursuant to paragraph 9 of the Dismissal Procedures Order, the Debtors, through

undersigned counsel, hereby certify that all Certification Conditions (as defined therein) have been

completed. Undersigned counsel has likewise consulted with the U.S. Trustee regarding this

Certification and can confirm that the U.S. Trustee does not oppose entry of the Dismissal Order.

       4.      Finally, pursuant to paragraph 10 of the Dismissal Procedures Order, this

Certification has been served on the Dismissal Order Notice Parties (as defined in the Motion).

       WHEREFORE, the Debtors respectfully request that the Court enter the Dismissal Order

attached hereto as Exhibit A at its earliest convenience.

 Dated: August 7, 2023                         BAYARD, P.A.
        Wilmington, Delaware
                                                /s/ Evan T. Miller
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                                               Debtors in Possession




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